     Case 2:18-cr-00422-SMB Document 1162 Filed 05/20/21 Page 1 of 3



 1   WO
 2
 3
 4
 5
 6                      IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                         No. CR-18-00422-001-PHX-SMB
10                  Plaintiff,                         ORDER
11   v.
12   Michael Lacey, et al.,
13                  Defendants.
14
15          Pending before the Court is the government’s Motion in Limine to Admit Evidence
16   as to Non-hearsay Statements. (Doc. 929.) Defendants have filed a Response. (Doc. 964.)

17   After considering the parties’ briefing and applicable law, the Court renders the following
18   decision.

19          The government seeks to admit three categories of evidence “(1) statements made

20   by attorneys Elizabeth McDougall and Don Bennet Moon; (2) statements made in emails,
21   correspondence, and PowerPoint reports by a brand analysis firm, various public relation
22   firms, and attorneys acting in a public relations capacity; and (3) statements made by co-

23   conspirators Dollar Bill and David Elms.” (Doc. 929 at 2.) The government seeks to admit

24   Ms. McDougall and Mr. Moon’s statements under Federal Rule of Evidence 801(d)(2)(B)-

25   (D). Similarly, the government seeks to admit the “statements made in emails,

26   correspondence, and PowerPoint reports” based on Rule 801(d)(2)(C)-(D). Finally, the
27   government seeks to admit the statements of Dollar Bill and David Elms under Rule
28   801(d)(2)(E). The Defendants have responded arguing the government’s motion fails to
     Case 2:18-cr-00422-SMB Document 1162 Filed 05/20/21 Page 2 of 3



 1   actually delineate with any specificity the actual statements it wants admitted and has failed
 2   to establish the foundation necessary to admit the statements. (Doc. 964 at 1-7.) The
 3   Defendants further argue that the government has not meet the high standard necessary
 4   before a court will admit an attorney’s statements against his client in a criminal case. (Id.
 5   at 8.) Further, Defendant’s argue the government has not adequately shown that the
 6   statements of William Mersey or David Elms are subject to the “co-conspirator” exception
 7   to hearsay. (Id. at 11-15.) Finally, the Defendants argue the evidence the government seeks
 8   to admit is unduly prejudicial.
 9          In deciding the present motion, the Court need not address the various theories and
10   objections specifically. The foundational issues noted by Defendants are alone sufficient
11   for the Court to refuse the government’s motion and deny admittance of the evidence at
12   this time. The simple fact is that the government has declined to describe with any
13   specificity what statements it seeks to have admitted or the circumstances in which the
14   individual statements were made. The Court cannot analyze the admissibility of statements
15   without looking at the specific circumstances and content surrounding them.
16          For example, the government seeks to admit statements as “adopted statements”
17   under Rule 801(d)(2)(B), as “authorized statements” under Rule 801(d)(2)(C), and as
18   “agent statements” under Rule 801(d)(2)(D). However, the Court cannot evaluate whether
19   statements have been “adopted” by Defendants without knowing the content of the
20   statement made nor the circumstances in which it was spoken. See United States v.
21   Sanchez-Soto, 617 Fed. Appx. 695, 696-97 (9th Cir. 2015) (“A statement is only admissible
22   as an adoptive admission if there are ‘sufficient foundational facts’”). Neither can the Court
23   evaluate whether the statements were “authorized” by Defendant without examining the
24   content and context in which statements were made. See United States v. Bonds, 608 F.3d
25   495, 502 (9th Cir. 2010) (noting that “FRE 801(d)(2)(C) …requires the declarant to have
26   specific authority from a party to make a statement concerning a particular subject.”
27   (emphasis added)). Similarly, the Court cannot evaluate whether the statements proffered
28   by the government were admissible as statements of a party’s agents without knowing


                                                 -2-
     Case 2:18-cr-00422-SMB Document 1162 Filed 05/20/21 Page 3 of 3



 1   whether the specific statements were “concerning a matter within the scope of the agency
 2   or employment, made during the existence of the relationship.” Id.
 3          The same lack of specificity prevents the Court from admitting any of the
 4   government’s requested evidence under the co-conspirator exception. Fed. R. Evid.
 5   801(d)(2)(E). To admit statements under this exception the government must show (1)
 6   there was a conspiracy involving both the declarant of the statement and the defendant it is
 7   offered against; (2) the declarant’s statement was made during the pendency of the
 8   conspiracy; and (3) the statement was made in furtherance of the conspiracy. United States
 9   v. Franco-Beltran, 229 Fed. Appx. 592, 593 (9th Cir. 2007); see also, United States v.
10   Wells, 153 Fed. Appx. 417, 420 (9th Cir. 2005) (citing United States v. Vowiell, 869 F.2d
11   1264, 1267 (9th Cir. 1989)). While the government generally alleges these elements are
12   met, the Court cannot in any way determine the veracity of that claim without determining
13   the content of the specific statements, and whether they were made in a context that
14   furthered the conspiracy.
15          Accordingly,
16          IT IS ORDERED that the government’s Motion in Limine to Admit Evidence as
17   to Non-hearsay Statements, (Doc. 929), is denied.
18          Dated this 20th day of May, 2021.
19
20
21
22
23
24
25
26
27
28


                                                -3-
